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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
      Attorneys for Chapter 11 Debtors and Debtors in Possession
 66
      Samuel R. Maizel (SBN 189301)
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      DENTONS US LLP
 88   601 South Figueroa Street, Suite 2500
      Los Angeles, California 90017-5704
 99   Telephone: (213) 623-9300; Facsimile: (213) 623-9924
      Email : samuel.maizel@dentons.com; tania.moyron@dentons.com
10
10    Attorneys for Official Committee of Equity Security Holders
11
11
                                UNITED STATES BANKRUPTCY COURT
12
12                               CENTRAL DISTRICT OF CALIFORNIA
                                  SAN FERNANDO VALLEY DIVISION
13
13
      In re:                                              Lead Case No.: 1:17-bk-12408-MB
14
14                                                        Jointly administered with:
      ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
15
15    corporation,1
                                                          Chapter 11 Cases
16
16              Debtor and Debtor in Possession.
                                                          NOTICE OF HEARING ON JOINT
17
17    In re:                                              MOTION FOR ORDER GRANTING
                                                          STANDING TO PURSUE CLAIMS FOR
18
18    ICPW Liquidation Corporation, a Nevada              THE BENEFIT OF THE DEBTORS’
      corporation,2                                       ESTATES;     AND    APPROVING
19
19
                Debtor and Debtor in Possession.          STIPULATION BETWEEN DEBTORS
20
20                                                        AND      EQUITY    COMMITTEE
          Affects:                                        GRANTING STANDING
21
21
            Both Debtors                             DATE:          December 12, 2017
22
22                                                   TIME:          1:30 p.m.
          ICPW Liquidation Corporation, a California PLACE:        Courtroom “303”
23
23    corporation
                                                                   21041 Burbank Blvd.
24
24        ICPW Liquidation Corporation, a Nevada                   Woodland Hills, CA 91367
      corporation.
25
25
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

                                                      1
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 11          PLEASE TAKE NOTICE that a hearing will be held on December 12, 2017, at 1:30

 22   p.m., at the above-referenced location for the Court to consider the joint motion (“Motion”) filed

 33   by ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad

 44   Performance Wear Corporation, a California corporation, ICPW Liquidation Corporation, a

 55   Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada

 66   corporation (collectively, the “Debtors”), and the Official Committee of Equity Holders (the

 77   “Equity Committee”), for an order:

 88          (1) Granting leave, standing, and exclusive authority to the Equity Committee to assert,

 99   prosecute and/or settle on behalf of the Debtors’ estates, subject to Court approval, any and all
10
10    claims, objections and causes of action against Jeffrey Cordes and William Aisenberg, and
11
11    counter claims and defenses against any of the claims asserted by Mr. Cordes and Mr. Aisenberg,
12
12    including those claims asserted in their proofs of claim against the Debtors; and
13
13           (2) Approving that certain Stipulation Granting Standing To Pursue Certain Estate Based
14
14    Claims For The Benefit Of The Debtors’ Estates (the “Stipulation”) attached hereto as Exhibit 1.
15
15           PLEASE TAKE FURTHER NOTICE that any objections to the relief requested in this
16
16    Motion must (1) be filed with the Clerk of the Court and be served on the respective professional
17
17    no later than November 28, 2017 and (2) be in the form required by Local Bankruptcy Rule
18
18    9013-1(f).
19
19           PLEASE TAKE FURTHER NOTICE that the Court may deem the failure of any party
20
20    in interest to file a timely objection to this Motion to constitute consent to the relief requested in
21
21    this Motion.
22
22           WHEREFORE, the Debtors respectfully request that this Court issue an order:
23
23           1.      Granting the Motion;
24
24           2.      Granting leave, standing, and exclusive authority to the Equity Committee to
25
25    assert, prosecute and/or settle on behalf of the Debtors’ estates, subject to Court approval, any
26
26    and all claims, objections and causes of action against Jeffrey Cordes and William Aisenberg,
27
27    and counter claims and defenses against any of the claims asserted by Mr. Cordes and Mr.
28
28    Aisenberg, including those claims asserted in their proofs of claim against the Debtors;

                                                        2
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                           EXHIBIT “1”
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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
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 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
      Attorneys for Chapter 11 Debtors and Debtors in Possession
 66
      Samuel R. Maizel (SBN 189301)
 77   Tania M. Moyron (SBN 235736)
      DENTONS US LLP
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 99   Telephone: (213) 623-9300; Facsimile: (213) 623-9924
      Email : samuel.maizel@dentons.com; tania.moyron@dentons.com
10
10    Attorneys for Official Committee of Equity Security Holders
11
11
                                UNITED STATES BANKRUPTCY COURT
12
12                               CENTRAL DISTRICT OF CALIFORNIA
                                  SAN FERNANDO VALLEY DIVISION
13
13
      In re:                                              Lead Case No.: 1:17-bk-12408-MB
14
14                                                        Jointly administered with:
      ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
15
15    corporation,1
                                                          Chapter 11 Cases
16
16              Debtor and Debtor in Possession.
                                                          STIPULATION GRANTING THE
17
17    In re:                                              OFFICIAL COMMITTEE OF EQUITY
                                                          SECURITY HOLDERS STANDING TO
18
18    ICPW Liquidation Corporation, a Nevada              PURSUE CERTAIN ESTATE BASED
      corporation,2                                       CLAIMS
19
19
                Debtor and Debtor in Possession.
20
20                                                        DATE:     December 12, 2017
          Affects:                                        TIME:     1:30 p.m.
21
21                                                        PLACE:   Courtroom “303”
            Both Debtors                                           21041 Burbank Blvd.
22
22
          ICPW Liquidation Corporation, a California               Woodland Hills, CA 91367
23
23    corporation
24
24        ICPW Liquidation Corporation, a Nevada
      corporation.
25
25
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

                                                      1
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 11          This stipulation (the “Stipulation”) is entered into between the Official Committee of

 22   Equity Security Holders (the “Equity Committee”) and the above-captioned debtors and debtors in

 33   possession (the “Debtors”) through undersigned counsel:

 44                                              RECITALS

 55          WHEREAS, on September 7, 2017, Jeffrey Cordes and William M. Aisenberg (the

 66   “Former Officers”) submitted an arbitration demand to JAMS in connection with alleged breaches

 77   of certain employment agreements and related documents, which initiated a proceeding before the

 88   American Arbitration Association (“AAA”), Reference No. 1220057366 (the “AAC Proceeding”);

 99   WHEREAS, on September 8, 2017, the Debtors filed voluntary petitions under chapter 11 of Title
10
10    11 of the United States Code (the “Bankruptcy Code”), commencing Case Nos. 1:17-bk-12408-
11
11    MB and Case Nos. 1:17-bk-12409-MB, in the United States Bankruptcy Court for the Central
12
12    District of California (the “Bankruptcy Court”).
13
13           WHEREAS, the Former Officers filed proofs of claims against the Debtors on October 3,
14
14    2017, which are denominated in the Bankruptcy Court’s files as Claims No. 7 and 8 (collectively,
15
15    the “Proofs of Claim”);
16
16           WHEREAS, the Former Officers filed the Motion Of Jeffrey Cordes And William M.
17
17    Aisenberg For Relief From The Automatic Stay Under 11 U.S.C. [§] 362(Action In Nonbankruptcy
18
18    Forum) (the “Relief From Stay Motion”), as Docket No. 132, and the Debtors’ filed the opposition
19
19    (the “Opposition”) thereto, as Docket No. 169, and the Equity Committee filed a joinder therein, as
20
20    Docket No. 168,
21
21           WHEREAS, on October 15, 2017, the Court temporarily denied the Relief From Stay
22
22    Motion and set related deadlines;
23
23           WHEREAS, the Debtors have or may have claims, objections and causes of action against
24
24    the Former Officers (collectively, the “Claims”), and counter claims and defenses against any of
25
25    the claims asserted by the Former Officers (the “Defenses”), including those claims asserted in the
26
26    Proofs of Claim; and
27
27           WHEREAS, the Debtors and the Equity Committee agreed that the Debtors would grant
28
28    the Equity Committee standing to assert, prosecute, and/or settle any and all of the Debtors’ Claims

                                                         2
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 11   and Defenses on behalf of the Debtors’ estates in the AAA Proceeding, the Bankruptcy Court,

 22   and/or any other forum.

 33           IT IS THEREFORE, STIPULATED, ACKNOWLEDGED, AGREED AND

 44   ORDERED AS FOLLOWS:

 55           1.      The Equity Committee is hereby granted leave, standing and exclusive authority to

 66   assert, prosecute and/or settle on behalf of the Debtors’ estates, subject to Court approval as

 77   necessary, any and all Claims and Defenses in the AAA Proceeding, in the Bankruptcy Court

 88   and/or any other forum.

 99           2.      Neither the Debtors, nor its Board of Directors or Officers makes any
10
10    representations or warranties of any type regarding the validity, viability or existence of any
11
11    Causes of Action and Defenses being assigned to the Equity Committee.
12
12            3.      The Equity Committee is hereby granted, and shall have the joint, nonexclusive,
13
13    right to assert any and all privileges controlled by Debtors, including the attorney-client privilege,
14
14    on behalf of the Debtors’ estate with respect to all claims and causes of action that the Equity
15
15    Committee has been granted standing and authority to assert, prosecute and/or settle on behalf of
16
16    the Debtors’ estate pursuant to this Stipulation.
17
17            4.      Except as expressly set forth herein, all of the Debtors and the Equity Committee’s
18
18    respective procedural and substantive rights, claims, objections and defenses are hereby expressly
19
19    reserved and preserved.
20
20            5.      This Stipulation may not be modified other than by a signed writing executed by
21
21    the parties hereto.
22
22            6.      This Stipulation is subject to, and shall not take effect until, the entry of an Order by
23
23    the Bankruptcy Court approving this Stipulation.
24
24            7.      The Debtor and the Committee shall file a joint motion seeking approval of this
25
25    Stipulation within two (2) business days after its execution by the parties.
26
26            8.      Nothing herein shall be deemed to waive, limit, impair or otherwise prejudice the
27
27    Equity Committee’s rights to seek standing and authority to assert, prosecute and/or settle on
28
28

                                                          3
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled NOTICE OF HEARING ON JOINT MOTION
      FOR ORDER GRANTING STANDING TO PURSUE CLAIMS FOR THE BENEFIT OF THE DEBTORS’
  4   ESTATES; AND APPROVING STIPULATION BETWEEN DEBTORS AND EQUITY COMMITTEE
      GRANTING STANDING will be served or was served (a) on the judge in chambers in the form and
  5   manner required by LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On November 21, 2017, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  8   Notice List to receive NEF transmission at the email addresses stated below:

  9            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
               Ron Bender rb@lnbyb.com
 10            Cathrine M Castaldi ccastaldi@brownrudnick.com
               Russell Clementson russell.clementson@usdoj.gov
 11            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
               Matthew A Gold courts@argopartners.net
 12            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 13             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 14            Samuel R Maizel samuel.maizel@dentons.com,
                alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
 15             .com;kathryn.howard@dentons.com
               Krikor J Meshefejian kjm@lnbrb.com
 16            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
               S Margaux Ross margaux.ross@usdoj.gov
 17            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
               Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
 18
 19   2. SERVED BY UNITED STATES MAIL: On November 21, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 20   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 21
 22                                                                           Service information continued on attached page
 23
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 24   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on November 21, 2017, I served the following persons and/or entities by personal delivery, overnight
 25   mail service, or (for those who consented in writing to such service method), by facsimile transmission
      and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
 26   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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      Served via Attorney Service
  1   Hon. Martin R. Barash
      United States Bankruptcy Court
  2   21041 Burbank Boulevard, Suite 342
      Woodland Hills, CA 91367
  3
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  4   true and correct.

  5    November 21, 2017                    Stephanie Reichert                           /s/ Stephanie Reichert
       Date                                 Type Name                                    Signature
  6
  7
  8
  9
 10
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Creditors Committee:



Committee Counsel                      Resources Global Professionals   Winspeed Sports (Shanghai) Co., LTD
Brown Rudnick LLP                      c/o Brent Waters                 c/o Brian Mitteldorf
Attn: Cathrine M Castaldi              17101 Armstrong Ave              Creditors Adjustment Bureau
2211 Michelson Dr 7th Fl               Irvine, CA 92614                 14226 Ventura Blvd.
Irvine, CA 92612                                                        Sherman Oaks, CA 91423

PT Sport Glove Indonesia
c/o Mark C. Robba
Kranoon Desa Pandowoharjo
Sleman Yogyakarta 55512
Indonesia




Equity Committee:



Equity Committee Counsel               Patrick W O’Brien                Ronald Chez
Dentons US LLP                         301 Whitmore Lane                1524 N. Astor Street
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601 South Figueroa St., Suite 2500
Los Angeles, CA 90017-5704

Scott Jarus
938 Duncan Avenue
Manhattan Beach, CA 90266
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Ironclad Performance Wear (8300)
Shareholders




DANIEL SHELLEY WARD FAMILY           THE ELLEN IDELSON TRUST DATED    ETHAN AISENBERG
TRUST DTD 12-22-99                   MARCH 20 2003                    3900 LEGACY TRAIL CIR
                                     710 BROOKTREE ROAD               CARROLLTON, TX 75010
                                     PACIFIC PALISADES, CA 90272


WILLIAM AISENBERG                    GREG AKSELRUD                    GREGORY AKSELRUD
3900 LEGACY TRAIL CIR                C/O STUBBS ALDERTON &            15260 VENTURA BLVD
CARROLLTON, TX 75010                 MARKILES LLP                     20TH FL
                                     15260 VENTURA BLVD 20TH FL       SHERMAN OAKS, CA 91403
                                     SHERMAN OAKS, CA 91403

SCOTT ALDERTON                       ELI ARRIV                        BARBARA ASHTON
19687 LOS ALIMOS ST                  4340 COLETA RD                   2417 LESTER AVENUE
CHATSWORTH, CA 91311                 AGOURA, CA 91301                 CLOVIS, CA 93619



RYAN AZLEIN                          B.A.T.B. LLC                     NATASHA H BEN
1137 Calle Elaina                    5750 SOUTH BEECH CT              104 Saratoga Drive
Thousand Oaks, CA 91630              GREENWOOD VILLAGE, CO 80121      Belle Chasse, LA 70037



R D PETE BLOOMER                     RONALD D BLOOMER                 WILLIAM L BOETTCHER
7542 CRESTVIEW DRIVE                 7542 CRESTVIEW DR                727 HAYS CIR
LONGMONT, CO 80504                   NIWOT, CO 80504                  LONGMONT, CO 80501




HUBERT L BROWN III & ANNABELLE       TARBY BRYANT                     MCDERMOTT & BULL
BROWN FOWLKES                        4 HAWTHORNE CIR                  2 VENTURE
H L BROWN JR CHARITABLE LEAD         SANTA FE, NM 87506               SUITE 100
ANNUITY TRUST                                                         IRVINE, CA 92618
PO BOX 2237
MIDLAND, TX 79702
CHERYL WASHINGTON                    ROBERT C CLARK                   VANE CLAYTON
1920 HUTTON CT                       12151 WEST 32ND DR               270 W PEARL
STE 300                              WHEEATRIDGE, CO 80033            SUITE 103
FARMERS BRANCH, TX 75234                                              JACKSON, WY 83001


CLAYTON WYOMING LLC                  DAVID J COOK                     JEFFREY D CORDES
1364 NORTHPARK DRIVE                 2163 LIMA LOOP                   1570 BENT CREEK DRIVE
LAFAYETTE, CO 80026                  PMB 071156                       SOUTHLAKE, TX 76092
                                     LAREDO, TX 78045


KEVIN DEBRE                          MELISSA DERBY                    MICHAEL ANTHONY DIGREGORIO
C/O STUBBS ALDERTON &                393 LAUREL AVENUE                TRUSTEE
MARKILES LLP                         NOVATO, CA 94945                 THE DIGREGORIO REVOCABLE
15260 VENRUA BLVD 20TH FL                                             TRUST
SHERMAN OAKS, CA 91403                                                1420 KINGSBORO CT
                                                                      WESTLAKE VILLAGE, CA 91362
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GLEN K INGALLS & RENEE             JEFFREY F GERSH & ARIE J GERSH   STEVEN C EARNSHAW
PACHECO TTEES                      LIVING TRUST DTD                 5679 POLAR WAY
THE INGALLS PACHECO 2005 TRUST     09/26/1991                       PARK CITY, UT 84098
747 ROSEMOUNT RD                   5465 ROUND MEADOW RD
OAKLAND, CA 94610                  HIDDEN HILLS, CA 91302

KYLE EDLUND                        REYHEENA EIDARIUS                DONALD P ELLIOTT
3893 FAIRWAY DR                    23436 CAMINITO VALLE             9400 E CLIFF AVE
WOODBURY, MN 55125                 LAGUNA HILLS, CA 92563           #361
                                                                    DENVER, CO 80231


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115 BROOKS AVE                     570 WASHINGTON BLVD              MATTHEW TRUSTEES FBO
VENICE, CA 90291                   JERSEY CITY, NJ 07310            KRONMAN MATTHEW & ASSOC
                                                                    30111 HARVESTER RD
                                                                    MALIBU, CA 90265

STEVE FEDEA                        THOMAS FELTON                    MARK W FISCHER
2040 W BELMONT                     2006 TOUCH GOLD COURT            285 IROQUOIS DR
#201                               ROWLETT, TX 75088                BOULDER, CO 80303
CHICAGO, IL 60618


SCOTT GALER                        BROCK GANELES                    KONRAD GATIEN
C/O STUBBS ALDERTON &              41 W 72ND ST                     15260 VENTURA BLVD
MARKILES                           APT 14A                          20TH FLOOR
15260 VENTURA BLVD 20TH FL         NEW YORK, NY 10023               SHERMAN OAKS, CA 91403
SHERMAN OAKS, CA 91403

GEMINI PARTNERS INC                ARTHUR GERRICK                   DANIEL THOMAS GIEBER
10900 WILSHIRE BLVD                172 WILD LILAC                   PO BOX 7298
STE 300                            IRVINE, CA 92620                 MENLO PARK, CA 94026
LOS ANGELES, CA 90024


CHARLES H GIFFEN                   TODD GITLIN                      STEPHEN GOODHUE
6000 ELBA PLACE                    269 S BEVERY DR STE 1213         203 STAR CARLISLE
WOODLAND HILLS, CA 91367           BEVERLY HILLS, CA 90212          W AUSTRAILIA,, 6101
                                                                    AUSTRAILIA


MICHAEL GRANT                      MICHAEL GROSSMAN                 XIN GUO
222 ROUND HILL RD                  5557 GROEHMANN LN                540 LAKE FOREST DR
TIBURON, CA 94920                  FREDERICKSBURG, TX 78624         COPPELL, TX 75019



MARK HAWKING                       CHRISTOPHER M HAZLITT            DAVID G HILL
2278 CAMARILLAR DR                 1063 Mapleton Avenue             1712 PEARL ST
CAMARILLO, CA 93010                Boulder, CO 80304                BOULDER, CO 80302



MICHAEL CASEY HOCH                 JONATHAN HODES                   RHONDA HOFFARTH
291 BROADWAY                       C/O STUBBS ALDERTON &            462 CALLE DE ARAGON
COSTA MESA, CA 92627               MARKILES                         REDONDO BEACH, CA 90277
                                   15620 VENTURA BLVD 20TH FL
                                   SHERMAN OAKS, CA 91403
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EMIL IANNACCONE TTEE               ENSCO INC                        DAVID L JACOBS
EMIL IANNACCONE SEPERATE           3110 FAIRVIEW PARK DR STE 300    335 LEE HILL DRIVE
PROPERT TRUST                      FALLS CHURCH, VA 22042           BOULDER, CO 80302
11855 WOODLEY AVE
GRANADA HILLS, CA 91344

EDUARD ALBERT JAEGER               ERIC JAEGER                      HEIDI JAEGER
443 CONCORD ST                     1408 CAMBRIDGE CROSSING          26800 PACIFIC COAST HWY
EL SEGUNDO, CA 90245               SOUTHLAKE, TX 76092              MALIBY, CA 90265



JARUS FAMILY TRUST                 JARUS FAMILY TRUST TR SCOTT M    JARUS FAMILY TRUST U/A DTD
938 DUNCAN AVE                     JARUS TTEE                       10/19/2007
MANHATTAN BEACH, CA 90266          938 DUCAN AVE                    938 DUNCAN AVE
                                   MANHATTAN BEACH, CA 90266        MANHATTAN BEACH, CA 90266


REBECCA D JARUS & SCOTT M          JOANNA WALDEAR-LUCAS AS TTEE     MICHAEL B JOHNSON
JARUS TTEES                        FBO THE JOANNA                   7255 RADFORD AVE
JARUS FAMILY TRUST                 WALDEAR-LUCAS LIVING TRUST       N HOLLYWOOD, CA 91605
938 DUCAN AVE                      PO BOX 101
MANHATTAN BEACH, CA 90266-6626     MALIBU, CA 90265

CHARLES E FRISCO JR                CHARLES E FRISCO JR              ROBERT F CHARLES JR
12749 Norwalk Blvd. Ste 100        8135 FLORENCE AVENUE             2955 PARK LAKE DR
Norwalk, CA 90650                  SUITE 101                        BOULDER, CO 80301
                                   DOWNEY, CA 90240


STANLEY M RUMBOUGH JR              CHRIS JUETTEN                    MATTHEW JUETTEN
44 COCOANUT ROW STE B103           2906 NW ENDICOTT ST              633 HAWKSBILL ISLAND DR
PALM BEACH, FL 33480               CAMAS, WA 98607                  SATELLITE BEACH, FL 32937



PATRICK JUETTEN                    ANTHONY KEATS                    THOMAS KENDALL
11417 HASTINGS ST NE               15260 VENTURA BLVD               1112 MONTANA AVENUE # 716
BLAINE, MN 55449                   20TH FLOOR                       SANTA MONICA, CA 90403
                                   SHERMAN OAKS, CA 91403


BRUCE G KLASS                      MATTHEW LAUBERT                  KNUTE LEE
447 KENSINGTON DR                  C/O IRONCLAD PERFORMANCE         9109 WILSHIRE COURT NE
CORDILERA, CO 81632                WEAR CORP                        ALBUQUERQUE, NM 87122
                                   1920 HUTTON COURT #300
                                   FARMERS BRANCH, TX 75234

JAEGER FAMILY LLC                  GREAT PANDA INVESTMENT CO        SEAMARK FUND LP
1408 CAMBRIDGE CROSSING            LLLP                             223 WILMINGTON W CHESTER PIKE
SOUTHLAKE, TX 76092                1325 PITKIN AVE                  #115
                                   SUPERIOR, CO 80027               CHADDS FORD, PA 19317


KLEIN PARTNERS LTD                 FAMILY TRUST OF EARL G           MURRAY MARKILES
4973 CLUBHOUSE CT                  LUNCEFORD                        C/O STUBBS ALDERTON &
BOULDER, CO 80301                  8850 E FERNAN LAKE RD            MARKILES
                                   COEUR DALENE, ID 83814           15260 VENTURA BLVD 20TH FLOOR
                                                                    SHERMAN OAKS, CA 91403
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THOMAS W. MASON                   CINDY MATTHEWS                   JOHN MCILVERY
6856 WISH AVENUE                  6725 WHALEY DR                   C/O STUBBS ALDERTON &
LAKE BALBOA, CA 91406             BOULDER, CO 80303                MARKILES
                                                                   15260 VENTURA BLVD 20TH FL
                                                                   SHERMAN OAKS, CA 91403

RONALD S WEAVER MD                WILLIAM MECK                     ROBERT MEOTTLE
536 PALISADES AVENUE              11027 LIMERICK AVENUE            27909 SMYTH DR
SANTA MONICA, CA 90402            CHATSWORTH, CA 91311             VALENCIA, CA 91355



MICHAEL A DIGREGORIO              PATRICK W O'BRIEN                JEFFREY ORR
1420 KINSGBORO COURT              301 WHITMORE LANE                733 21ST ST
WESTLAKE VILLAGE, CA 91362        LAKE FOREST, IL 60045            MERMOSA BEACH, CA 90254



TAMALPAIS PARTNERS                MARC S PESTER                    ALL IN THE BEHL FAMILY RLLP
24 TAMALPAIS AVE                  278 DALE RD                      37271 S STONEY CLIFF DR
MILL VALLEY, CA 94941             SHORT HILLS, NJ 07078            TUCSON, AZ 85739



JOSEPH D RYAN                     MIKE SALOMON                     HAROLD F SCHAFF
1986 CLOVERDALE AVE               1440 E 1st Street Ste. 100       780 GLEN ANNIE RD
HIGHLAND PARK, IL 60035           SANTA ANA, CA 92701              GOLETA, CA 93114



CATHERINE A SEAK                  PETER SEAMANS                    JAMES SEIBEL
1643 OAKPOINT DR                  1360 WALNUT ST                   1430 N HARPER AVE
WACONIA, MN 55387                 #205                             #305
                                  BOULDER, CO 80302                W HOLLYWOOD, CA 90046


BRIAN SHEENY                      SPM CENTER LLC                   KEALA STANFILL
11711 DARLINGTON AVE UNIT 7       27909 SMYTH DR                   12049 SWANUKER TERR
LOS ANGELES, CA 90049             VALENCIA, CA 91355               BEAVERTON, OR 97007



VALORIE STANSBERRY                STUBBS ALDERTON & MARKILES       V JOSEPH STUBBS
3227 N RICHMOND                   LLP                              C/O STUBBS ALDERTON &
CHICAGO, IL 60618                 15260 VENTURA BLVD               MARKILES
                                  26TH FL                          15260 VENTURA BLVD 20TH FL
                                  SHERMAN OAKS, CA 91403           SHERMAN OAKS, CA 91403

PAMELA SULLIVAN                   EDWIN BALDRIDGE TTEE UA DTD      HORACE DUNBAR HOSKINS JR &
1682 HAYES STREET APT C           10/30/1992 EDWIN T               ANN REID HOSKINS JT
EUGENE, OR 97402                  BALDRIDGE DECLARATION TRUST      TEN
                                  605 SAN ANTONIA AVE              7 PENENSULA RD
                                  MANY LA, LA 71449                BELVEDERE, CA 94920

JOHN E ORCUTT & MARCIA ORCUTT     ROBERT H KEELEY & SANDRA D       THOMAS W. MASON & LISA L.
JT TEN                            KEELEY JT TEN                    MASON JT TEN
3221 N SAN SEBASTIAN DRIVE        PO BOX 240                       6856 WISH AVENUE
TUSCON, AZ 85715                  HILLSIDE, CO 81232               LAKE BALBOA, CA 91406
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WILLIAM MECK & TERESA MECK JT     HAROLD F SCHAFF & CHERYL A       DENNIS TORRES & AVERI TORRES
TEN                               SCHAFF TTEES THE                 6779 LAS OLAS WAY
11027 LIMERICK AVENUE             SCHAFF TRUST DTD 1-17-03         MALIBU, CA 90265
CHATSWORTH, CA 91311              780 GLEN ANNIE RD
                                  GOLETA, CA 93114

STEVEN W TOWN                     BIRCH FAMILY TRUST               DENNIS TORRES & AVERI TORRES
6301 E CRESTLINE AVE              1435 OLIVE ST                    TRUST
GREENWOOD VILLAGE, CO 80111       SANTA BARBARA, CA 93101          6779 LAS OLAS WAY
                                                                   MAILBU, CA 90265


KATHERINE BERCI DEFEVERE          RICHARD KRONMAN & MAUREEN        SEGAL FAMILY TRUST
TRUSTEE DEFEVERE TRUST            KRONMAN REVOCABLE TRUST          10100 SANTA MONICA BLVD #1300
24200 ALBERS STREET               30111 HARVESTER RD               LOS ANGELES, CA 90067
WOODLAND HILLS, CA 91367          MAILBU, CA 90265


THE ORCUTT FAMILY TRUST           THE SASSOLA III FAMILY TRUST     THE WILLIAM J. & SEEMAH W.
3221 N SAN SEBASTIAN DRIVE        7771 HERON COURT                 IDELSON FAMILY TRUST
TUSCON, AZ 85715                  GOLETA, CA 93117                 DATED APRIL 29 1997
                                                                   710 BROOKTREE ROAD
                                                                   PACIFIC PALISADES, CA 90272

ANNALOUISE JAEGER & KEITH         ED WETHERBEE                     LOUIS WHARTON
VERWOEST                          7269 SIENA WAY                   15260 VENTURA BLVD
532 PAUMAKUA PL                   BOULDER, CO 80301                20TH FLOOR
KAILUS, HI 96734                                                   SHERMAN OAKS, CA 91403


KIM WOODWORTH & BILL              JOE WORDEN                       JAMES R YOUNG
WOODWORTH                         4335 FOX CIRCLE                  2009 RIVERVIEW DR
101 VALLEY HILL RD                MESA, AZ 85205                   BERTHOUD, CO 80513
EXTON, PA 19401
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Label Matrix for local noticing                 Argo Partners
                                               Main    Document  Page 17 of 27    Dentons US LLP
0973-1                                         12 West 37th Street, 9th Floor                 Successor by merger to McKenna Long etc
Case 1:17-bk-12408-MB                          New York, NY 10018-7381                        2030 Main Street #1000
Central District of California                                                                Irvine, CA 92614-7239
San Fernando Valley
Tue Nov 21 11:17:32 PST 2017
Ironclad Performance Wear Corporation, a Cal   Office of Unemployment Compensation Tax Serv   Official Committee of Equity Security Holder
15260 Ventura Blvd.                            Department of Labor and Industry               DENTONS US LLP
20th Floor                                     Commonwealth of Pennsylvania                   601 S. Figueroa Street
Sherman Oaks, CA 91403-5303                    651 Boas Street, Room 702                      25th Floor
                                               Harrisburg, PA 17121-0751                      Los Angeles, CA 90017-5704

San Fernando Valley Division                   1920 Hutton Court Inwood National Bank         ALL IN THE BEHL FAMILY RLLP
21041 Burbank Blvd,                            P O Box 857                                    37271 S STONEY CLIFF DR
Woodland Hills, CA 91367-6606                  Richardson, TX 75085                           TUCSON , AZ 85739-1406



AMERICAN ALTERNATIVE INSURANCE CORPORATION     AML UNITED LIMITED                             ANNALOUISE JAEGER & KEITH VERWOEST
1475 E WOODFIELD RD SUITE 500                  29TH FLOOR, NANYANG PLAZA                      532 PAUMAKUA PL
SSCHAUMBURG, IL 60173-4903                     57 HUNG TO ROAD, KWUN TONG                     KAILUS , HI 96734-3157
                                               KOWLOON, HONG KONG, CHINA


ANTHONY KEATS                                  ARTHUR GERRICK                                 Aaron Zhang
15260 VENTURA BLVD                             l72 WILD LILAC                                 Room 1202 Building 12 ,Biguiyuan
20TH FLOOR                                     IRVINE , CA 92620                              Renming Middle Road NO.527, Qidong
SHERMAN OAKS , CA 91403-5303                                                                  County Nantong City, China 226200


Abel Unlimted Inc. (Ironwear)                  Account Temps                                  Ace Hardware
2020 Seabird Way                               P.O. BOX 743295                                2222 Kensington St.
Riviera Beach, FL 33404-5009                   Los Angeles, CA 90074-3295                     Oak Brook, IL 60523-2108



Acklands Grainger                              Advantage Media Services Inc                   Advantage Media Services, Inc.
123 Commerce Valley Dr., Suite 700             29010 Commerce Center Drive                    29010 Commerce Center Drive
Thornhill, Ontario, L3T 7W, Canada             Valnecia, CA 91355-4188                        Valencia, CA 91355-4188



Amazon                                         Amster, Rothstein & Ebenstein, LLP             Argo Partners
410 Terry Ave. North                           90 Park Avenue                                 12 West 37th St., 9h Fl.
Seattle, WA 98109-5210                         New York, NY 10016-1463                        New York, NY 10018-7381



Atmos Energy                                   BDO USA, LLP                                   BIC ALLIANCE
Three Lincoln Centre, Suite 1800               P. O. BOX 677973                               P O Box 40166
5430 LBJ Freeway                               Dallas, TX 75267-7973                          Baton Rouge, LA 70835-0166
Dallas, TX 75240-2601


BIRCH FAMILY TRUST                             BNSF                                           BNSF Logistics International, Inc.
1435 OLIVE ST                                  75 Remittance Dr. Ste. 1748                    1600 Lakeside Parkway #100
SANTA BARBARA, CA 93101-1216                   Chicago, IL 60675-1748                         Flower Mound, TX 75028-4012
               Case 1:17-bk-12408-MB   Doc 244 Filed 11/21/17 Entered 11/21/17 14:45:10                       Desc
BRIAN SHEENY                            BROCK GANELES
                                       Main    Document  Page 18 of 27    BRUCE G KLASS
11711 DARLINGTON AVE UNIT 7            41 W 72ND ST                                   447 KENSINGTON DR
LOS ANGELES , CA 90049-5521            APT 14A                                        CORDILERA, CO 81632-6271
                                       NEW YORK , NY 10023-3477


Ben Padnos                             Big Time Products, LLC (includes Apollo Perf   Broadridge
PO Box 1993                            2 Wilbanks Road SE                             P.O. Box 416423
Manhattan Beach, CA 90267-1993         Rome, GA 30161-8475                            Boston, MA 02241-6423



Broussard,Ronald Roy                   Bunzl USA Holdings, LLC                        Burkhard,Kerri
3001 Oak Meadow Drive                  Cordova Safety Products, John Tillman Co       4405 Glenbrook Court
Flower Mound, TX 75028-7625            Once City Place Drive                          Mansfield, TX 76063-3500
                                       Suite 200
                                       St. Louis, MO 63141

Business Systems Integrators, LLC      CATHERINE A SEAK                               CEDE & CO (FAST)
P O Box 495                            1643 OAKPOINT DR                               570 WASHINGTON BLVD
Lawson, MO 64062-0495                  WACONIA , MN 55387-4544                        JERSEY CITY , NJ 07310-1617



CHARLES E FRISCO JR                    CHARLES E FRISCO JR                            CHARLES H GIFFEN
12749 Norwalk Blvd . Ste 1OO           8135 FLORENCE AVENUE                           6000 ELBA PLACE
Norwalk , CA 90650-3148                SUITE 101                                      WOODLAND HILLS , CA 91367-2929
                                       DOWNEY , CA 90240-3900


CHRIS JUETTEN                          CHRISTOPHER M HAZLITT                          CINDY MATTHEWS
2906 NW ENDICOTT ST                    1063 Mapleton Avenue                           6725 WHALEY DR
CAMAS, WA 98607-8243                   Boulder, CO 80304-4150                         BOULDER , CO 80303-4328



CIS Custom Information Services        CLAYTON WYOMING LLC                            CRG Financial LLC
1201 N. Watson Rd., Ste. 110           1364 NORTHPARK DRIVE                           100 Union Avenue
Arlington, TX 76006-6122               LAFAYETTE, CO 80026-3441                       Cresskill, NJ 07626-2141



Cabela’s                               California Board of Equalization               Capital One Bank
1 Cabela Dr.                           Acct. Analysis & Control Sec. MIC 2            P. O. BOX 1917
Sidney, NE 69160-0001                  PO Box 942879                                  Merrifield, VA 22116-1917
                                       Sacramento, CA 94279-0029


Cestusline, Inc.                       Chang Bang Gloves (Hong Kong) Co., Limited     Charles Giffen
13818 NE Airport Way                   c/o W. Steven Bryant                           6000 Elba Place
Portland, OR 97230-3440                Locke Lord LLP                                 Woodland Hills, CA 91367-2929
                                       600 Congress Avenue, Suite 2200
                                       Austin, Texas 78701-3055

Cheryl Washington                      Commerce Technologies, Inc.                    (p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
3577 Belt Line Rd. #215                25736 Network Place                            REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION
Irving, TX 75062-7804                  Chicago, IL 60673-1257                         PO BOX 13528
                                                                                      AUSTIN TX 78711-3528
               Case 1:17-bk-12408-MB   Doc 244 Filed 11/21/17 Entered 11/21/17 14:45:10 Desc
Custom Information Services             Custom Document
                                       Main    Leathercraft Mfg. LLC
                                                                  Page 19 of 27 DANIEL THOMAS GIEBER
1201 N Watson Rd #110                   10240 S. Alameda Street               PO BOX 7298
Arlington, TX 76006-6122                South Gate, CA 90280-5551             MENLO PARK, CA 94026-7298



DAVID G HILL                            DAVID J COOK 2163 LIMA LOOP           DAVID L JACOBS
1712 PEARL ST                           PMB 071156                            335 LEE HILL DRIVE
BOULDER , CO 80302-5517                 LAREDO, TX 78045-6420                 BOULDER , CO 80302-9492



DENNIS TORRES & AVERI TORRES            DENNIS TORRES & AVERI TORRES TRUST    DESIGN GALLERY PVT. LTD.
6779 LAS OLAS WAY                       6779 LAS OLAS WAY                     PLOT #322/B, MEDICAL ROAD
MALIBU, CA 90265-4137                   MAILBU , CA 90265-4137                HELAL MARKET, UTTARKHAN
                                                                              DHAKA-1230, Bangladesh


DESUN GARMENTS, LTD.                    DNOW                                  DNOW L.P. (Skatiq Gloves)
89/1, Birulia Road, Savar, Dhaka        PO Box 40985                          7402 N. Eldridge Parkway
Dhaka                                   Houston, TX 77240-0985                Houston, TX 77041-1902
Savar-1340, Bangladesh


DONALD P ELLIOTT                        DRG Strategic, LLC - Bob Goldstein    DTM Sales
9400 E ILIFF AVE #361                   P O BOX 191981                        391 Gingercake Road
DENVER , CO 80231-3490                  Dallas, TX 75219-8510                 Fayetteville, GA 30214-1037



DXP Enterprises                         David Jacobs                          Daylight Transport
P.O. Box 1697                           335 Lee Hill Drive                    P O Box 93155
Houston, TX 77251-1697                  Boulder, CO 80302-9492                Long Beach, CA 90809-3155



Dayup Global Co., Ltd.                  Dival Safety & Supplies               Do It Best
Phum Prey Sala, Sangkat Kakap           1721 Niagra Street                    6502 Nelson Road
Khan Posenchey, Phnom Penh              Buffalo, NY 14207-3188                Fort Wayne, IN 46803-1947
855, Cambodia


Duluth Trading                          ED WETHERBEE                          EDUARD ALBERT JAEGER
PO Box 409170                           7269 SIENA WAY                        443 CONCORD ST
Belleville, WI 53508                    BOULDER , CO 80301-3724               EL SEGUNDO , CA 90245-3723



EDWIN BALDRIDGE TTEE UA                 ENSCO INC                             ERIC JAEGER
6O5 SAN ANTONIA AVE                     3110 FAIRVIEW PARK DR STE 3O0         1408 CAMBRIDGE CROSSING
MANY LA , LA 71449                      FALLS CHURCH, VA 22042-4503           SOUTHLAKE, TX 76092-7001



ETHAN AISENBERG                         Emery Waterhouse                      Emil Iannaccone Ttee Ua Dtd 9/16/2010
3900 LEGACY TRAIL CIR                   7 Rand Rd.                            Emil Iannaccone Seperate Propert Trust
CARROLLTON, TX 75010-6458               Portland, ME 04102-1433               11855 Woodley Ave
                                                                              Granada Hills , CA 91344-2839
               Case 1:17-bk-12408-MB   Doc 244 Filed 11/21/17 Entered 11/21/17 14:45:10                    Desc
Emmett Murphy                           Eshleman,Derek
                                       Main    DocumentG Page 20 of 27    Essendant USSCO
3901 Turtle Creek Blvd.                 3744 Woodshadow Lane                       1 Parkway North Blvd., Suite 100
Dallas, TX 75219-4603                   Addison, TX 75001-7985                     Deerfield, IL 60015-2559



Expeditors                              FAMILY TRUST OF EARL G LUNCEFORD           FedEx
5757 W. Century Blvd. Ste. 200          8850 E FERNAN LAKE RD                      PO Box 7221
Los Angeles, CA 90045-6405              COEUR DALENE, ID 83814-7782                Pasadena, CA 91109-7321



FedEx Corporate Services Inc            Feld,Abraham Hagen                         Fowler,Michael J
3965 Airways Blvd Module G 3rd Floor    14700 Marsh Ln. Apt. #926                  1722 Ashland Ave.
Memphis TN 38116-5017                   Addison, TX 75001-8061                     Evanston, IL 60201-3546



GEMINI PARTNERS INC                     GLEN K INGALLS & RENEE PACHECO             GREAT PANDA INVESTMENT CO LLLP
10900 WILSHIRE BLVD                     TTEES U/A DTD 4-5-05 THE INGALLS PACHECO   1325 PITKIN AVE
STE 30O                                 747 ROSEMOUNT RD                           SUPERIOR , CO 80027-8131
LOS ANGELES , CA 90024-6536             OAKLAND, CA 94610-2322


GREGORY AKSELRUD                        GT Graphics                                GT Graphics of Sheboygan LLC
15260 VENTURA BLVD                      826 Michigan Avenue                        826 Michigan Avenue
20TH FL                                 Sheboygan, WI 53081-3438                   Sheboygan, WI 53081-3438
SHERMAN OAKS, CA 91403-5303


Geoff Greulich                          Ginger Collier                             Ginger Hill
3485 Ridgeford Drive                    6524 Deseo Apt. 358                        6524 Deseo Apt. 358
Westlake Village, CA 91361-4819         Irving, TX 75039-3037                      Irving, TX 75039-3037



Glenfir                                 Grainger                                   Greg Akselrud
General French 1948                     100 Grainger Parkway                       C/O Stubbs Alderton & Marki
Montevideo, Uruguay 11500               Lake Forest, IL 60045-5202                 15260 Ventura Blvd 20th Fl.
                                                                                   Sherman Oaks, CA 91403-5303


Guo, Xin                                HAROLD F SCHAFF                            HAROLD SCHAFF & CHERYL SCHAFF TTEES THE
540 Lake Forest Dr.                     780 GLEN ANNIE RD                          SCHAFF TRUST DTD 1-17-03
Coppell, TX 75019-2882                  GOLETA , CA 93117-1426                     78O GLEN ANNIE RD
                                                                                   GOLETA , CA 93114


HEIDI JAEGER                            HORACE DUNBAR HOSKINS JR &                 Hewlett Packard
26800 PACIFIC COAST HWY                 ANN REID HOSKINS JT TEN                    1501 Page Mill Road
MALIBU, CA 90265-4517                   7 PENENSULA RD                             Palo Alto, CA 94304-1100
                                        BELVEDERE, CA 94920-2325


Huizhou Baijia Glove Co., Ltd.          (p)INTERNAL REVENUE SERVICE                (p)IPFS CORPORATION
Diakali Mouza, Manigonggjpara           CENTRALIZED INSOLVENCY OPERATIONS          30 MONTGOMERY STREET
Savar, Dhaka, 1349, Bangladesh          PO BOX 7346                                SUITE 1000
                                        PHILADELPHIA PA 19101-7346                 JERSEY CITY NJ 07302-3865
               Case 1:17-bk-12408-MB    Doc 244 Filed 11/21/17 Entered 11/21/17 14:45:10                  Desc
Impacto Protective Products, Inc.        JAEGER Document
                                        Main    FAMILY LLC Page 21 of 27   JAMES R YOUNG
40 Dussek Street                        1408 CAMBRIDGE CROSSING                    2009 RIVERVIEW DR
Belleville, ON K8N 5R8                  SOUTHLAKE , TX 76092-7001                  BERTHOUD , CO 80513-8253
CANADA


JAMES SEIBEL                            JARUS FAMILY TRUST                         JARUS FAMILY TRUST TR SCOTT M JARUS TTEE
1430 N HARPER AVE                       938 DUNCAN AVE                             938 DUCAN AVE
#305                                    MANHATTAN BEACH , CA 90266-6626            MANHATTAN BEACH , CA 90266-6626
W HOLLYWOOD 90046-8412


JARUS FAMILY TRUST U/A DTD 10/19/2007   JEFFREY CORDES                             JEFFREY F GERSH & ARIE J GERSH LIVING TRUST
938 DUNCAN AVE                          GARDERE WYNNE SEWELL, LLP                  DTD 09/26/1991
MANHATTAN BEACH, CA 90266-6626          C/O ALAN J. PERKINS                        5465 ROUND MEADOW RD
                                        2021 MCKINNEY AVE STE 1600                 HIDDEN HILLS , CA 91302-1279
                                        DALLAS TX 75201-4761

JEFFREY ORR                             JOE WORDEN                                 JOHN E ORCUTT & MARCTA ORCUTT
733 2lST ST                             4335 FOX CIRCLE                            JT TEN
MERMOSA BEACH, CA 90254                 MESA , AZ 85205-5104                       3221 N SAN SEBASTIAN DRIVE
                                                                                   TUSCON , AZ 85715-3023


JOHN MCILVERY                           JONATHAN HODES                             JOSEPH D RYAN
C/O STUBBS ALDERTON & MARKILES          C/O STUBBS ALDERTON & MARKILES             1986 CLOVERDALE AVE
15260 VENTURA BLVD 2OTH FL              15620 VENTURA BLVD 20TH FL                 HIGHLAND PARK , IL 60035-2108
SHERMAN OAKS, CA 91403-5325             SHERMANOAKS, CA 91436-3129


Jaeger,Eric                             Jeff Carlson                               Joanna Waldear-Lucas As Ttee
1408 CAMBRIDGE CROSSING                 4307 W. 44th Street                        Fbo The Joanna Waldear-Lucas Living Trus
Southlake, TX 76092-7001                Edina, MN 55424-1063                       P .O . Box l0l
                                                                                   Malibu , CA 90265


KA HUNG GLOVE INUSTRIAL CO. LTD.        KATHERINE BERCI DEFEVERE                   KEALA STANFILL
FUJIAN QUANZHOU JIACHENG LEATHER        TRUSTEE DEFEVERE TRUST                     12049 SW ASKER TERR
CHI FENG ROAD, QUANZHOU CITY            24200 ALBERS STREET                        BEAVERTON , OR 97007
FUJIAN, 362000, China                   WOODLAND HILLS, CA 91367-5704


KLEIN PARTNERS LTD                      KNUTE LEE                                  KONRAD GATIEN
4973 CLUBHOUSE CT                       9109 WILSHIRE COURT NE                     15260 VENTURA BLVD
BOULDER , CO 80301-3728                 ALBUQUERQUE, NM 87122-3051                 2OTH FLOOR
                                                                                   SHERKAN OAKS , CA 91403-5325


KYLE EDLUND                             Kevin Debre                                Kim Woodworth & Bill Woodworth
3893 FAIRWAY DR                         C/O Stubbs Alderton & Markiles LLP 15260   1O1 Valley Hill Rd
WOODBURY , MN 55125-5018                Sherman Oaks, CA 91403                     Exton , PA 19401



Konica Minolta Business Solutions       LAB Sales Agency                           LF Logistics
100 Williams Drive                      58 Regis Drive                             230-19 International Airport Ct., S
Ramsey, NJ 07446-2907                   Winnipeg, MB 1K3 Canada                    Springfield Gardens, NY 11413-4116
               Case 1:17-bk-12408-MB   Doc 244 Filed 11/21/17 Entered 11/21/17 14:45:10 Desc
LOUIS WHARTON                           Laubert,Matthew
                                       Main    Document Palmer Page 22 of 27 Levene, Neale, Bender, Yoo & Brill LLP
15260 VENTURA BLVD                      3201 Pecan Meadow Drive                    10250 Constellation Blvd Ste. 1700
2OTH FLOOR                              Garland, TX 75040-2856                     Los Angeles, CA 90067-6253
SHERMAN OAKS, CA 91403-5325


Liaison Technologies, Inc.              Liberty Glove, Inc.                        Lien Shun Yang Leather Co., Ltd.
Attn: Christopher Evans                 433 Cheryl Lane                            No.48, Mincheng Street, Daliao Dist
3157 Royal Drive, Suite 200             City of Industry, CA 91789-3023            Kaosiung City 831, Taiwan (R.O.C.)
Alpharetta, GA 30022-2484


MARC S PESTER                           MARK HAWKING                               MARK W FISCHER
278 DALE RD                             2278 CAMARILLAR DR                         285 IROQUOIS DR
SHORT HILLS , NJ 07078-1513             CAMARILLO, CA 93010-2061                   BOULDER, CO 80303-4215



MARUSAN - MIMASU TSHUSHO CO. LTD.       MATTHEW JUETTEN                            MATTHEW LAUBERT
NO 1 QUEEN’ ROAD CENTRAL                633 HAWKSBILL ISLAND DR                    C/O IRONCLAD PERFORMANCE WEAR CORP
HONG KONG                               SATELL ITE B EA CH , FL 32937-3854         1920 HUTTON COURT #300
CHINA                                                                              FARMERS BRANCH , TX 75234-9004


MCDERMOTT & BULL                        MCR Safety                                 MELISSA DERBY
2 VENTURE SUITE 100                     1255 Schilling Blvd. W                     393 LAUREL AVENUE
IRVINE, CA 92618-7391                   Collierville, TN 38017-7190                NOVATO , CA 94945-3546



MERCINDO GLOBAL MANUFAKTUR              MERCINDO GLOBAL MANUFAKTUR                 MICHAEL A DIGREGORIO
JL. RAYA SEMARANG-BAWEN KM.29           JL. RAYA SEMARANG-BAWEN KM.29              1420 KINSGBORO COURT
SEemerang, Central Java                 Semerang, Central Java                     WESTLAKE VILLAGE , CA 91362-4340
50661, Indonesia                        50661, Indonesia


MICHAEL B JOHNSON                       MICHAEL CASEY HOCH                         MICHAEL GRANT
7255 RADFORD AVE                        291 BROADWAY                               222 ROUND HILL RD
N HOLLYWOOD, CA 91605-3713              COSTA MESA , CA 92627-2817                 TIBURON , CA 94920-1520



MICHAEL GROSSMAN                        MIKE SALOMON                               MURRAY MARKILES
5557 GROEHMANN LN                       1440 E 1st Street Ste . l00                C/O STUBBS ALDERTON & MARKILES
FREDERICKSBURG , TX 78624-6074          SANTA ANA , CA 92701-6301                  15260 VENTURA BLVD 2OTH FLOOR
                                                                                   SHERKAN OAKS, CA 91403-5325


Magpul Industries Copr.                 Matt Pliskin                               Matt Pliskin
8226 Bee Cave Road                      2718 W Terrace Drive                       2718 W Terrace Drive
Austin, TX 78746-4909                   Farmers Branch, TX 75234                   Tampa FL 33609-4026



Matthew Trustees                        Mediant                                    Menards
C/O STUBBS ALDERTON & MARKILES          P.O. Box 29976                             5101 Menard Dr.
15260 VENTURA BLVD 20TH FL              New York, NY 10087-9976                    Eau Claire, WI 54703-9604
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Metzler,Stacy Marie                     MichaelDocument
                                       Main     Anthony DigregorioPage
                                                                   Trustee23 of 27 Michael DiGregorio
411 Donnell Drive #A                    The Digregorio Revocable Trust               1420 Kingsboro Court
Arlington, TX 76012-5993                1420 Kingsboro Ct                            Thousand Oaks, CA 91362-4340
                                        Westlake Village, CA 91362-4340


Morris,Chartrice Holt                   Muhammad Deni Indrajaya                      Murski Breeding Sales Co.
7313 Tall Road                          Jl.Cilandak KKO, Gg Abbah 3                  9212 Chancellor Row
Alvarado, TX 76009-7192                 RT09 RW05 Ragunan Pasar Minggu               Dallas, TX 75247-5325
                                        Jakarta Selatan, 12550


NANTONG CHANGBANG GLOVES CO.            Nacion,Markham                               Nanang Kuriawan
Flat/RM 1602 Chit Lee Comm              503 Hemphill Drive                           Dsn Jimbaran RT003 RW002
Bldg 30-36, Shau Kei Wan Road           San Marcos, CA 92069-1875                    Jimbaran Bandungan
Hong Kong, China                                                                     Semarang Jawa Tengah 50651


National Safety Council                 Net Pack                                     (p)CITIBANK
P.O. Box 558                            9629 El Poche St                             PO BOX 790034
Itasca, IL 60143-0558                   South El Monte, CA 91733-3030                ST LOUIS MO 63179-0034



Office Depot Acct 31A                   Orgill                                       Orr Safety
P.O. Box 88040                          PO Box 140                                   11601 Interchange Drive
Chicago, IL 60680-1040                  Memphis, TN 38101-0140                       Louisville, KY 40229-2159



PAMELA SULLIVAN                         PATRICK JUETTEN                              PATRICK W O ’BRIEN
1682 HAYES STREET APT C                 11417 HASTINGS ST NE                         30l WHITMORE LANE
EUGENE , OR 97402-3694                  BLAINE, MN 55449-4447                        LAKE FOREST, IL 60045



PETER SEAKANS                           POH                                          PT Adira Semesta Industry
1360 WALNUT ST                          12 Brennan Way                               Bihbul Raya 73, Kopo., Bandung
#205                                    Belmont, Western Australia 6104              West Java, 40228, Indonesia
BOULDER , CO 80302-5190


PT JJ GLOVES INDO                       PT SEOK HWA INDONESIA                        PT SPORT GLOVE INDONESIA
JL Ronggowarsito, Mlese, Ceper          Room 1218, Krantz Techno Bldg.               Krandon Desa Pandowoharjo
Bonded Zone, Klaten                     5442-1 Sang Dae Won-Dong, Sung Nam           Sleman
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PT. Eagle Glove Indonesia               Pacific Stock Transfer Company               Patrick W OBrien
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Sleman, Yogyakarta, 55571               Suite 300                                    Lake Forrest, IL 60045-4707
Indonesia                               Las Vegas, NV 89119-3553


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Dallas, TX 75231-4180
               Case 1:17-bk-12408-MB          Doc 244 Filed 11/21/17 Entered 11/21/17 14:45:10                Desc
Precision Testing Laboratories                 ProgroupDocument
                                              Main      Incorporated Page 24 of 27 Quill Corporation
POB 100268                                     P.O. Box 6585                          P.O. Box 37600
Nashville, TN 37224-0268                       Englewood, CO 80155-6585               Philadelphia, PA 19101-0600



R3 Safety aka Bunzl                            REYHEENA EIDARIUS                      RHONDA HOFFARTH
P.O. Box 270417                                23436 CAMINITO VALLEY                  462 CALLE DE ARAGON
Saint Louis, MO 63127-0417                     LAGUNA HILLS , CA 92653-1640           REDONDO BEACH , CA 90277-6724



RICHARD KRONMAN & MAUREEN KRONMAN REVOCABLE    ROBERT C CLARK                         ROBERT F CHARLES JR
TRUST                                          12151 WEST 32ND DR                     2955 PARK LAKE DR
30111 HARVESTER RD                             WHEEATRIDGE, CO 80033-5356             BOULDER, CO 80301-5138
MAILBU , CA 90265-3733


ROBERT H KEELEY & SANDRA KEELEY                ROBERT MEOTTLE                         RONALD S WEAVER MD
JT TEN                                         2 /909 SMYTH DR                        536 PALISADES AVENUE
17245 ELBERT ROAD                              VALENCIA , CA 91355                    SANTA MONICA , CA 90402-2722
PEYTON, CO 80831-9566


RPS Solutions                                  RYAN AZLEIN                            Radians Wareham Holding, Inc.
726 Donald Preston Drive                       1137 Calle Elaina                      Attn: Mike Tutor, CEO
Wolfforth, TX 79382-5402                       Thousand Oaks, CA 91360-2330           5305 Distriplex Farms
                                                                                      Memphis, TN 38141-8231


Rebecca D Jarus & Scott M Jarus Ttees          Refrigiwear, Inc.                      Republic Services
U/A Dtd 10/19/2007                             54 Breakstone Drive                    4200 East 14th Street
Jarus Family Family Trust                      Dahlongega, GA 30533-7603              Plano, TX 75074-7102
938 Ducan Ave
Manhattan Beach , CA 90266-6626

Resources Global Professionals                 Resources Global Professionals         Richard Kronman & Ian
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Irvine, CA 92614-5742                          LOS ANGELES, CA 90074-0909             Malibu , CA 90265-3733



Ringers, Inc.                                  Risk Consulting Partners               Robert Steckler
8846 North Sam Houston Parkway West            24722 Network Place                    3000 Tradewind Drive
Houston, TX 77064-2305                         Chicago, IL 60673-1247                 Spicewood, TX 78669-5135



Ronald Chez                                    Russ MacDonald                         Russ McDonald
1524 N. Astor Street                           23785 110B Avenue                      23785 - 110B Avenue
Chicago, IL 60610-2057                         Maple Ridge, BC V2W 1E6                Maple Ridge, B.C. V2W1 E6, Canada
                                               Canada


SCOTT ALDERTON                                 SEAMARK FUND LP                        SEGAL FAMILY TRUST
19687 LOS ALIMOS ST                            223 WILMINGTON W CHESTER PIKE          10100 SANTA MONICA BLVD #1300
CHATSWORTH, CA 91311-1935                      #115                                   LOS ANGELES, CA 90067-4114
                                               CHADDS FORD , PA 19317-9007
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SPM CENTER LLC                          SPRING Document
                                       Main    HILL INC  Page 25 of 27    SPS Commerce
27909 SMYTH DR                         9629 El Poche St.                       333 South Seventh St. Ste. 1000
VALENCIA , CA 91355-4034               South El Monte, CA 91733-3030           Minneapolis, MN 55402-2421



STANLEY M RUMBOUGH JR                  STEPHEN GOODHUE                         STEVE FEDEA
44 COCOANUT ROW STE Bl03               2O3 STAR CARLISLE                       2040 W BELMONT, #201
PALM BEACH, FL 33480-4069              W AUSTRALIA , 6101                      CHICAGO, IL 60618-6464
                                       AUSTRAILIA


STEVEN C EARNSHAW                      STEVEN W TOWN                           STUBBS ALDERTON & MARKILES LLP
5679 POLAR WAY                         6301 E CRESTLINE AVE                    15260 VENTURA BLVD
PARK CITY , UT 84098-7765              GREENWOOD VILLAGE , CO 80111-1459       26TH FL
                                                                               SHERMAN OAKS , CA 91403-5307


Saf-T-Glove                            Safeco Building Maintenance             Safety Supply Corporation (Radians)
1121 Fountain Parkway                  5013 Brandenburg Lane                   880 North Hills Blvd.
Grand Prairie, TX 75050-1514           The Colony, TX 75056-2043               Suite 505
                                                                               Reno, NV 89506-5710


Sam’s Club                             Scott Jarus                             Select Nantong Safety Products Co
Attn: General Merchandise Manager      938 Duncan Avenue                       No. 198 Youyi Road W
2101 SE Simple Savings Drive           Manhattan Beach, CA 90266-6626          Jueguang, Rudong, Jiangsu
Bentonville, AR 72716-0001                                                     226400, China


Shur-Sales & Marketing, Inc.           Skadden Arps Slate Meagher & Flom LLP   Skadden, Arps, State, Meagher & Flom LLP
3830 S Windermere St.                  P O Box 1764                            300 S Grand Ave Suite 3400
Englewood, CO 80110-3452               White Plains, NY 10602-1764             Los Angeles, CA 90071-3137



Snap-On                                Southern Glove                          State Board of Equalization
PO Box 1410                            749 AC Little Drive                     Account Information Group, MIC: 29
Kenosha, WI 53141-1410                 Newton, NC 28658-3769                   P.O. Box 942879
                                                                               Sacramento, CA 94279-0029


State Board of Equalization            Stauffer Glove & Safety                 Stubbs, Alderton & Markiles, LLP
Special Operations Bankruptcy Team     361 East Sixth Street                   15260 Ventura Blvd
MIC: 74                                Red Hill, PA 18076-1118                 20th Floor
P.O. Box 942879                                                                Sherman Oaks, CA 91403-5303
Sacramento, CA 94279-0029

Superior Printing, Inc.                Synetra                                 TAB Sales Solutions
P O Box 844550                         1110 E. State Highway 114               12109-94A Street
Los Angeles, CA 90084-4550             Suite 200                               Grand Prairie, AB T8V 5C2 Canada
                                       Southlake, TX 76092-5252


TAMALPAIS PARTNERS                     TARBY BRYANT                            THE ELLEN IDELSON TRUST DATED MARCH 20 2003
24 TAMALPAIS AVE                       4 HAWTHORNE CIR                         710 BROOKTREE ROAD
MILL VALLEY, CA 94941-1823             SANTA FE, NM 87506-7903                 PACIFIC PALISADES, CA 90272-3901
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THE ORCUTT FAMILY TRUST                   THE SASSOLA
                                         Main         III FAMILY TRUST
                                                 Document           Page 26 of 27 THOMAS ELLIOTT
3221 N SAN SEBASTIAN DRIVE                7771 HERON COURT                           ll5 BROOKS AVE
TUSCON, AZ 85715-3023                     GOLETA , CA 93117-2477                     VENICE , CA 90291



THOMAS FELTON                             THOMAS KENDALL                             THOMAS MASON & LISA L . MASON
2006 TOUCH GOLD COURT                     1112 MONTANA AVENUE # 7l6                  JT TEN
ROWLETT , TX 75088-2940                   SANTA MONICA , CA 90403-1652               6856 WISH AVENUE
                                                                                     LAKE BALBOA , CA 91406-4440


THOMAS W . MASON                          TODD GITLIN                                TRI/AUSTIN, INC
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LAKE BALBOA , CA 91406-4440               BEVERLY HILLS, CA 90212-3851               DALLAS, TX 75320-7097



(p)TXU ENERGY RETAIL COMPANY LP           TXU Energy Retail Company LLC              Tamer Shiha
CO BANKRUPTCY DEPARTMENT                  C/O Bankruptcy Department                  P.O.Box 117893
PO BOX 650393                             PO Box 650393                              300
DALLAS TX 75265-0393                      Dallas TX 75265-0393                       Carrollton, TX 75011-7893


The William J . & Seemah W . Idelson      Three Part Advisors, LLC                   True Value
Family Trust Dated April 29, 1997         P O Box 92698                              8600 W. Bryn Mawr Avenue
7lO Brooktree Road                        Southlake, TX 76092-0698                   Chicago, IL 60631-3505
Pacific Palisades, CA 90272


Tyco Integrated Security, LLC             U. S. Securities and Exchange Commission   U.S. Trustee San Fernando Valley
P.O. Box 371967                           Attn: Bankruptcy Counsel                   915 Wilshire Blvd.
Pittsburgh, PA 15250-7967                 444 South Flower Street, Suite 900         Suite 1850
                                          Los Angeles, CA 90071-2934                 Los Angeles, CA 90017-3560


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7754 Paramount Blvd.                      2950 E. Jurupa Street                      915 Wilshire Blvd, Suite 1850
Pico Rivera, CA 90660-4309                Ontario, CA 91761-2936                     Los Angeles, CA 90017-3560



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University of Wisconsin - Milwaukee       Farmers Branch, TX 75234-4831              15260 VENTURA BLVD 2OTH FL
Milwaukee, WI 53201-0500                                                             SHERKAN OAKS, CA 91403-5325


VALORIE STANSBERRY                        VANE CLAYTON                               Vane Clayton
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Vincent A. Pestilli & Associates, Inc.    Vonalman,Turner J                          W.W. Grainger. Inc.
193 Sam Brown Hill Road                   5225 Las Colinas Blvd                      Leah Wardak
Brownfield, ME 04010-4435                 Apt 2301                                   100 Grainger Parkway
                                          Irving, TX 75039-4564                      Lake Forest, IL 60045-5202
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WILLIAM AISENBERG                       WILLIAMDocument
                                       Main     M. AISENBERG Page 27 of 27 WILLIAM MECK
3900 LEGACY TRAIL CIR                  GARDERE WYNNE SEWELL, LLP          11027 LIMERICK AVENUE
CARROLLTON, TX 75010-6458              C/O ALAN J. PERKINS                CRATSWORTH , CA 91311-1617
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WILLIAM MECK & TERESA MECK             WINDSPEED SPORTS CO LTD            WINSPEED SPORTS SHANGHAI CO., LTD.
JT TEN                                 14226 VENTURA BLVD.                858 MINGZHU ROAD
11027 LIMERICK AVENUE                  SHERMAN OAKS, CA 91423-2715        SHANGHAI
CHATSWORTH , CA 91311-1617                                                China 00020-1702


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BANTEN, INDONESIA 15135                Irving, TX 75062-7804


Werner Logistics                       Windstream                         Wonell America, Inc.
10251 Calabash Avenue                  PAETEC                             Janice Lee, General Manager
Fontana, CA 92335-5275                 P O Box 9001013                    1520 Oak Street
                                       Louisville, KY 40290-1013          South Pasadena, CA 91030-4422


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